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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION
                                        ______

PATRICK JOSEPH,

                      Petitioner,                    Case No. 1:21-cv-8

v.                                                   Honorable Paul L. Maloney

UNKNOWN DUNBAR,

                      Respondent.
____________________________/

                                           JUDGMENT

               In accordance with the opinion entered this day:

               IT IS ORDERED that the petition for writ of habeas corpus is DISMISSED

because it is entirely duplicative of the petition filed in Joseph v. Dunbar, No. 1:20-cv-931 (W.D.

Mich.) (Dunbar I) and, therefore, frivolous. The dismissal is WITHOUT PREJUDICE with

regard to the pending Dunbar I petition.



Dated:    January 12, 2021                          /s/ Paul L. Maloney
                                                     Paul L. Maloney
                                                     United States District Judge
